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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN


JEFFREY SCHREIBER, RICHARD
COLONY, KAY VREDEVELD, and                   Case No. 22-cv-00188-HYJ-RSK
MICHAEL SURNOW, individually and on
behalf of all others similarly situated,     Hon. Hala Y. Jarbou

                                             Mag. Judge Ray S. Kent
                 Plaintiffs,


      v.

MAYO FOUNDATION FOR MEDICAL
EDUCATION AND RESEARCH,

                 Defendant.

                PLAINTIFFS’ UNOPPOSED MOTION FOR
           FINAL APPROVAL OF CLASS ACTION SETTLEMENT
Case 2:22-cv-00188-HYJ-RSK      ECF No. 75, PageID.4050      Filed 05/15/24   Page 2 of
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         The undersigned counsel certifies that Plaintiffs’ counsel communicated with

 counsel for Defendant, via email on May 14, 2024, explaining the nature of the relief

 to be sought by way of this motion and seeking concurrence in the relief; counsel for

 Defendant has communicated that Defendant does not oppose this motion and the

 relief requested herein.

         For the reasons set forth in Plaintiffs’ Brief in Support of their Unopposed

 Motion for Final Approval of Class Action Settlement, Plaintiffs respectfully request

 that the Court grant final approval to the Class Action Settlement 1 and enter final

 judgment.2

     Dated: May 15, 2024                 Respectfully submitted,

                                         By: /s/ E. Powell Miller
                                         One of Plaintiffs’ Attorneys

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 1
        The Settlement Agreement and its exhibits are included in the accompanying
 Supporting Brief.
 2
        A proposed Final Judgment and Order of Dismissal with Prejudice is attached
 to the Supporting Brief as Exhibit E.

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN


JEFFREY SCHREIBER, RICHARD
COLONY, KAY VREDEVELD, and                   Case No. 22-cv-00188-HYJ-RSK
MICHAEL SURNOW, individually and on
behalf of all others similarly situated,     Hon. Hala Y. Jarbou

                                             Mag. Judge Ray S. Kent
                 Plaintiffs,


      v.

MAYO FOUNDATION FOR MEDICAL
EDUCATION AND RESEARCH,

                 Defendant.


    BRIEF IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
        FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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                     STATEMENT OF ISSUES PRESENTED

       1.     Whether this Court should find that notice to the Settlement Class

 satisfies the requirements of Due Process and Federal Rule of Civil Procedure

 23, when direct notice—detailing the terms of the Settlement Agreement and

 individual options for objecting, opting-out, or automatically receiving

 payment—was transmitted via postcard notice or e-mail and reached 93.02%

 of the Settlement Class Members?

                     Plaintiffs’ Answer: Yes.

       2.     Whether this Court should grant final approval to the Settlement

 Agreement under Michigan’s Preservation of Personal Privacy Act, M.C.L. §§

 445.1711-1715 (“PPPA”), finding it fair, reasonable, and adequate, when it

 delivers meaningful monetary relief to the Settlement Class?

                     Plaintiffs’ Answer: Yes.

       3.     Whether the Settlement Class should be finally certified under

 Federal Rule of Civil Procedure 23(a) and 23(b)(3) where this Court has

 conditionally certified the Class for settlement purposes and nothing has

 changed to alter the propriety of this Court’s certification?

                     Plaintiffs’ Answer: Yes.




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    • In re Cardizem CD Antitrust Litig.,
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    • Leonhardt v. ArvinMeritor, Inc.,
         581 F. Supp. 2d 818 (E.D. Mich. 2008)

    • UAW v. Gen. Motors Corp.,
        2006 WL 891151 (E.D. Mich. Mar. 31, 2006)

    • UAW v. Gen. Motors Corp.,
        497 F.3d 615 (6th Cir. 2007)

    • Williams v. Vukovich,
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    • Fed. Judicial Ctr., Judges’ Class Action Notice and Claims Process
         Checklist and Plain Language Guide (2010)




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 I.    INTRODUCTION

       In this putative class action, Plaintiffs allege that Defendant disclosed records

 reflecting that Plaintiffs and Defendant’s other Michigan-based customers had

 purchased subscriptions to Mayo Clinic Health Letter to third parties, in violation of

 Michigan’s Preservation of Personal Privacy Act (the “PPPA”), H.B. 5331, 84th

 Leg. Reg. Sess., P.A. No. 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B. 4694,

 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989).

       After extensive litigation and hard-fought settlement negotiations overseen by

 the Honorable Gerald E. Rosen (Ret.) (formerly the Chief Judge of the Eastern

 District of Michigan and presently a mediator with JAMS), the Class

 Representatives and Class Counsel negotiated a settlement that, upon final approval

 by the Court, will require Defendant (and its insurers) to pay $52,500,000.00 (fifty-

 two million five-hundred thousand dollars) to establish an all-cash, non-reversionary

 Settlement Fund for the Settlement Class’s benefit.1 Each of the 62,746 Settlement

 Class Members will automatically receive a pro rata cash payment of approximately

 $540.00 to $700.00 from the Settlement Fund, without having to file a claim form.

 On a monetary basis, this Settlement amount recovered for each class member

 outperforms every other PPPA settlement by a wide margin. See Plaintiffs’


 1
       Unless otherwise defined herein, all capitalized terms appearing herein have
 the meanings ascribed to them in the Settlement Agreement.

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 Unopposed Motion for Service Awards and Fee Award (ECF No. 72) at

 PageID.3804 (chart listing other PPPA settlements).

       On February 21, 2024, the Court issued an order granting preliminary

 approval to the Settlement. ECF No. 68. Shortly thereafter, the Settlement

 Administrator successfully implemented the Court-approved Notice Plan and direct

 notice has reached 93.02% of the certified Settlement Class. The reaction from the

 Settlement Class has been overwhelmingly positive, which is not surprising given

 the strength of the Settlement. Specifically, of the 62,746 Settlement Class Members,

 zero have objected and only fourteen have requested to be excluded. 2

       For these reasons, and as explained further below, the Settlement is fair,

 reasonable, and adequate, warranting this Court’s final approval.

 II.   BACKGROUND

       A. Michigan’s Preservation of Personal Privacy Act
       The Michigan legislature passed the PPPA to preserve personal “privacy with

 respect to the purchase, rental, or borrowing of written materials.” Third Amended

 Complaint (ECF No. 65) (“TAC”). As such, the PPPA (as it existed until July 30,

 2016) provides that:

              a person, or an employee or agent of the person, engaged
              in the business of selling at retail . . . books or other written
              materials . . . shall not disclose to any person, other than
              the customer, a record or information concerning the
 2
       The deadline to object to or request exclusion from the Settlement was May
 13, 2024. ECF No. 68, PageID.3774, ¶ 15; PageID.3776, ¶ 20.

                                             2
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              purchase . . . of those materials by a customer that indicates
              the identity of the customer.

 M.C.L. § 445.1712. It authorizes civil actions and provides for statutory damages of

 $5,000, plus costs and reasonable attorney fees. See M.C.L. § 445.1715.

       In May 2016, the Michigan legislature amended the PPPA effective July 31,

 2016, but this does not apply retroactively to claims accruing prior to the effective

 date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.

 2016) (“[T]he amendment to the [PPPA] does not apply to Plaintiffs’ claims, and the

 Court will assess the sufficiency of those claims under the law as it was when

 Plaintiffs’ claims accrued.”) (citations omitted herein unless noted). Because the

 claims alleged herein accrued, and thus vested, prior to the July 31, 2016 effective

 date of the amended version of the PPPA, the pre-amendment version of the PPPA

 applies in this case. See Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D.

 Mich. 2018).

       B. Pre-Filing Investigation
       Class Counsel conducted an exhaustive pre-filing investigation, beginning in

 December 2020, concerning Mayo’s (and other defendants’) subscriber list

 disclosure practices in effect during the relevant pre-July 31, 2016 time period. With

 respect to the instant matter in particular, prior to filing suit Class Counsel

 investigated every aspect of the factual and legal issues underlying Plaintiffs’ claims,

 including:


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       • Researching the nature of Defendant’s business, its practices of
         selling newsletters, consumer-privacy policies, and public
         statements concerning the same;

       • Interviewing numerous individuals in Michigan who subscribed to
         Defendant’s publications prior to July 31, 2016, including about
         their process of purchasing a subscription and any disclosures they
         received or agreed to during the purchase process;

       • Researching and analyzing Defendant’s list rental and other
         disclosure practices, including years’ worth of archived versions of
         webpages containing statements made by Defendant and its
         affiliates concerning their data-sharing practices and practices of
         renting lists of Mayo Clinic Health Letter subscribers, as well as
         historical copies of data cards reflecting such practices that were
         publicly accessible online prior to July 31, 2016;

       • Analyzing versions of Defendant’s Privacy Policy, Terms of
         Service, and other public documents on its websites during the
         relevant time period;

       • Researching the relevant law and assessing the merits of a potential
         PPPA claim against Defendant and defenses that Defendant might
         assert thereto;

       • Reviewing caselaw and statutes concerning the applicable limitation
         period for a PPPA claim, analyzing the arguments regarding a six-
         year period; and

       • Analyzing the arguments for the applicability of tolling pursuant to
         Michigan Supreme Court’s administrative orders issued during the
         COVID-19 pandemic (the “COVID Orders”), including consulting
         with appellate lawyers briefing the matter before the Michigan
         Supreme Court.




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 See Exhibit A hereto, Declaration of E. Powell Miller in Support of Plaintiffs’

 Unopposed Motion For Final Approval (“Miller Decl.”) ¶ 6; Exhibit B hereto,

 Declaration of Frank S. Hedin in Support of Plaintiffs’ Unopposed Motion For Final

 Approval (“Hedin Decl.”) ¶ 17. As a result, Class Counsel developed a viable theory

 of liability for a PPPA claim against Defendant and prepared a thorough Class

 Action Complaint to initiate this action. Hedin Decl. ¶ 18; Miller Decl. ¶ 7.

       C. History of the Litigation and Settlement Negotiations
       On September 26, 2022, Plaintiff Schreiber filed the Class Action Complaint

 against Defendant. ECF No. 1. The material allegations of the complaint centered

 on Defendant’s alleged disclosure of its customers’ personal information and reading

 choices to third parties before July 30, 2016, in violation of the PPPA. On January

 3, 2023, Plaintiff Schreiber filed a First Amended Class Acton Complaint pursuant

 to Fed. R. Civ. P. 15(a)(1). ECF No. 19. Thereafter, the Court entered a Case

 Management Order (ECF No. 23), and the Parties began conducting significant

 written and document discovery, which included the exchange of thousands of pages

 of documents and voluminous electronically stored information, and the issuance of

 over 30 third-party subpoenas by Plaintiffs. Hedin Decl. ¶ 20; Miller Decl. ¶ 9. On

 January 17, 2023, Defendant filed a motion to dismiss pursuant to Fed. R. Civ. P.

 12(b)(6), arguing, inter alia, that the First Amended Complaint failed to state a claim

 upon which relief could be granted. ECF Nos. 24-25. On July 13, 2023, after full



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 briefing, the Court issued an opinion and order denying Defendant’s motion to

 dismiss in its entirety. ECF Nos. 45-46.

       On June 26, 2023, Commerce Register, Inc. (“CRI”), one of the third parties

 subpoenaed by Plaintiffs, produced a document in response to Plaintiffs’ subpoena

 concerning Defendant’s transmission of a subscriber list to The Salvation Army that

 occurred on or about June 20, 2016, squarely within the relevant time period. Hedin

 Decl. ¶ 25. Thus, on July 27, 2023, Plaintiff Schreiber filed a Second Amended

 Complaint, which added Plaintiffs Vredeveld and Colony (persons who appeared on

 the list transmitted to The Salvation Army) as plaintiffs and putative class

 representatives. ECF No. 49. On August 10, 2023, Defendant filed its Answer to the

 Second Amended Complaint, which denied the allegations generally and asserted 12

 affirmative defenses to liability, including that the claims were time-barred. ECF

 No. 50.

       On October 10, 2023, SFG, LLC (“SFG”), Mayo’s agent and another of the

 third parties subpoenaed by Plaintiffs, produced materials in response to Plaintiffs’

 subpoena indicating that SFG transmitted, on Mayo’s behalf, a Mayo subscriber list

 to CRI on June 23, 2016, squarely within the applicable class period. Hedin Decl. ¶

 27. This discovery was spurred by SFG’s production to Class Counsel of a server

 log file that reflects the activity on SFG’s server housing Mayo’s data during the

 class period. Id. Although Plaintiffs requested a copy of this log file in their subpoena


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 issued to SFG on June 1, 2023, SFG consistently denied being in possession of a

 such a file for several months, including after multiple meet and confer efforts by

 Class Counsel. Id. In response to these denials, Class Counsel served a subpoena for

 inspection of premises on SFG, setting a date for Class Counsel and a digital

 forensics firm selected by Class Counsel to inspect the actual server at SFG’s

 headquarters in Big Sandy, Texas to locate the server’s log file that reflects the

 activity on the server during the class period. Id. Shortly thereafter, on October 10,

 2023, SFG’s counsel notified Class Counsel that it had located the log file, which

 had been in its possession all along, and produced the file to Class Counsel. Id. The

 log file was critical to obtaining the Settlement as it reflects, inter alia, a transmission

 of a Mayo subscriber list (containing the names and addresses of all persons who

 had purchased Mayo Clinic Health Letter subscriptions that were active as of July

 18, 2013) to CRI on June 23, 2016. Id. Thus, on February 9, 2024, Plaintiffs

 Schrieber, Vredeveld, and Colony filed the operative Third Amended Complaint,

 which added Plaintiff Surnow (who appears on the July 18, 2013 subscriber list) as

 a plaintiff and putative class representative. ECF No. 65.

        From the start, the Parties engaged in direct communication, and pursuant to

 their obligations under Fed. R. Civ. P. 26, discussed resolution. See Hedin Decl. ¶

 28; Miller Decl. ¶ 15. On April 17, 2023, the Parties participated in an early

 settlement conference before Magistrate Judge Kent in Grand Rapids, which was


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 unsuccessful. See Hedin Decl. ¶ 29; Miller Decl. ¶ 16. Later on, on October 27, 2023,

 the parties participated in a full-day mediation with Judge Rosen in Detroit, during

 which they made substantial progress but failed to reach a settlement. See Hedin

 Decl. ¶ 30; Miller Decl. ¶ 17. Then, on December 11 and 12, 2023, the Parties

 participated in two additional full-day mediations with Judge Rosen in New York,

 where further progress was made, and after which the preliminarily-approved

 settlement was reached. See Hedin Decl. ¶ 31; Miller Decl. ¶ 18. In preparation for

 these mediation sessions, the Parties conducted extensive analysis of the size and

 parameters of the potential class, which included highly technical work performed

 by a database management expert hired by Proposed Class Counsel, and of the

 strengths and weaknesses of their respective cases. See Hedin Decl. ¶ 33; Miller

 Decl. ¶ 20. Class Counsel also prepared comprehensive mediation statements setting

 forth Plaintiffs’ position on the various merits and class-related issues in dispute in

 advance of each of these sessions of mediation. See Hedin Decl. ¶ 32; Miller Decl.

 ¶ 19. After reaching an agreement in principle to resolve the case, the Parties devoted

 considerable time over the following several weeks drafting and then executing the

 Settlement Agreement, attached to the Miller Declaration as Exhibit 1 thereto,

 retaining (at the conclusion of a competitive bidding process) the now Court-

 appointed Settlement Administrator, Kroll Settlement Administration LLC

 (“Kroll”), and working together to finalize the Settlement Class List, which included


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 the assistance of Plaintiffs’ retained database management expert. See Hedin Decl.

 ¶ 34; Miller Decl. ¶ 21.

       D. Class Counsel’s History Litigating Michigan PPPA Claims
       The unprecedented result here would not have been possible without the

 significant investments of time and other resources (monetary and otherwise)

 expended by Class Counsel identifying, investigating and litigating claims on behalf

 of Michigan consumers under the PPPA for the better part of the past decade. It was

 these extensive efforts, in a niche area of law, that afforded Class Counsel the

 knowledge, experience, and well-developed body of jurisprudence necessary to

 achieve the Settlement in this case. 3

       Beginning in 2015, Class Counsel began investigating and litigating cases

 against publishers for alleged PPPA violations. See Hedin Decl. ¶ 3; Exhibit C,

 Declaration of Philip L. Fraietta in Support of Plaintiffs’ Unopposed Motion for

 Final Approval (“Fraietta Decl.”) ¶ 4. The theory of liability was novel. Although a

 few other cases had been filed against publishers, none had progressed through class

 certification or summary judgment. Id. Despite the uncertainty, Class Counsel



 3
       For example, in granting final approval to a similar class in Loftus v. Outside
 Integrated Media, LLC, No. 2:21-cv-11809, ECF No. 36 (E.D. Mich. Aug. 13,
 2022), the Honorable Mark A. Goldsmith commended the work of the attorneys
 representing the class – the same counsel here – and noted that “the class has
 benefited in a concrete way” from the “very effective work” done by Plaintiff’s
 counsel. See PageID.3744 (Aug. 9, 2022 Loftus Fin. Approv. Hrg. Tr. at 7:13-17).

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 litigated numerous PPPA issues of first impression, such as: (i) whether an alleged

 violation of the statute was sufficient to confer Article III standing; (ii) whether the

 statute violated the First Amendment on its face or as applied; (iii) whether plaintiffs

 could pursue class action claims for statutory damages in federal court under Rule

 23 in light of MCR 3.501(A)(5); and (iv) whether a 2016 amendment to the statute

 applied retroactively. Fraietta Decl. ¶ 5. See, e.g., Boelter v. Hearst Commc’ns, Inc.,

 192 F. Supp. 3d 427 (S.D.N.Y. 2016); Boelter v. Advance Magazine Publishers Inc.,

 210 F. Supp. 3d 579 (S.D.N.Y. 2016). Class Counsel then conducted vigorous

 discovery, including in-depth research into data industry practices, such as data

 appending and data cooperatives, and ultimately third-party discovery from those

 companies. Fraietta Decl. ¶ 6. Through that discovery, Class Counsel amassed a

 wealth of institutional knowledge regarding the data industry. Id. Class Counsel won

 a motion for summary judgment in Boelter v. Hearst Commc’ns, Inc., 269 F. Supp.

 3d 172 (S.D.N.Y. 2017). Fraietta Decl. ¶ 7. This summary judgment victory

 provided a roadmap to liability for publishers based on the above data industry

 practices. Id.

       After the Michigan legislature amended the PPPA, effective July 31, 2016, to

 make “actual damages” a prerequisite to stating a claim and remove a prevailing

 plaintiff’s entitlement to statutory damages, Class Counsel then successfully argued

 that the amended version of the PPPA does not apply to claims that accrued prior to


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 its effective date of July 31, 2016. Hedin Decl. ¶ 5; Fraietta Decl. ¶ 8. See Horton,

 380 F. Supp. 3d at 683 (holding amended version of the PPPA does not apply to

 claims filed after its effective date of July 31, 2016 where the alleged disclosures

 occurred prior to the effective date). 4

       And throughout all of that prior litigation, it was assumed that PPPA cases

 were governed by a 3-year statute of limitations. Hedin Decl. ¶ 8; Fraietta Decl. ¶ 9;

 see, e.g., Hearst, 269 F. Supp. 3d at 172; Edwards v. Hearst Commc’ns, Inc., 2016

 WL 6651563 (S.D.N.Y. Nov. 9, 2016). Nonetheless, Class Counsel later recognized

 that the Sixth Circuit’s opinion in Palmer Park Square, LLC v. Scottsdale Ins. Co.,

 878 F.3d 530 (6th Cir. 2017), and relevant Michigan authority, established a basis

 for applying a six-year limitation period to PPPA claims, and thus provided an

 avenue for class recovery under the original PPPA even as long as six years after a

 defendant’s pre-July 31, 2016 disclosure practices. Hedin Decl. ¶ 9; Fraietta Decl. ¶

 9. After conducting extensive pre-suit investigative analysis, Class Counsel initiated

 litigation with the six-year limitation period as its foundation. Hedin Decl. ¶ 10;



 4
        Notably, Class Counsel obtained this result even though another district court
 had previously held that the amended version of the statute applied to any claim
 brought on or after the amendment’s July 31, 2016 effective date. See Raden v.
 Martha Stewart Living OmniMedia, Inc., 2017 WL 3085371, at *4 (E.D. Mich. July
 20, 2017), reconsideration denied, 2018 WL 460072 (E.D. Mich. Jan. 18, 2018). For
 nearly a year after the Raden decision, the consensus among the rest of the plaintiff’s
 bar was that the PPPA was officially dead and, as such, no other PPPA cases were
 filed until Class Counsel filed the Horton matter on May 29 2018.

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 Miller Decl. ¶ 5; Fraietta Decl. ¶ 10. Through Class Counsel’s advocacy, in Pratt,

 Judge Ludington issued a first-of-its-kind published opinion, finding that a six-year

 statute of limitations applies to PPPA claims.5 Hedin Decl. ¶ 12; Miller Decl. ¶ 31;

 Fraietta Decl. ¶ 11; see Pratt v. KSE Sportsman, Inc., 586 F. Supp. 3d 666, 675 (E.D.

 Mich. 2022). Other Michigan courts soon followed in accord. Hedin Decl. ¶ 13; see,

 e.g., Krassick v. Archaeological Inst. of Am., 2022 WL 2071730, at *3 (W.D. Mich.

 June 9, 2022).

       Moreover, for this and many other later-filed PPPA cases, the plaintiffs’ and

 class members’ claims relied on Class Counsel’s analysis and advocacy in regards

 to the COVID Orders. Hedin Decl. ¶ 40; Miller Decl. ¶ 23. Originally, Class Counsel

 determined that the latest that a suit could reasonably be filed was by July 31, 2022.

 Id. But, through extensive research and legal analysis, Class Counsel determined that

 the 102 days of tolling provided by the COVID Orders would allow a suit to be

 brought through October 2022. Id. Class Counsel consulted with other Michigan

 litigants who were pursuing this theory, including the appellate counsel in COVID

 Orders cases which have now been taken up by the Michigan Supreme Court. Id.

 Again, it was through the efforts and advocacy of Class Counsel that even permitted



 5
        And as discussed infra, Judge Ludington recently finally approved the class
 action settlement in Pratt. See Pratt v. KSE Sportsman Media, Inc., 2024 WL 113755
 (E.D. Mich. Jan. 10, 2024) (approving $9.5 million class settlement paying each
 class member approximately $420).

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 a viable theory of recovery for the Settlement Class. Id.

        Simply put: Class Counsel’s tireless efforts over the past decade identifying,

 developing, and pursuing this groundbreaking PPPA litigation paved the way for

 this and other important cases that otherwise never would have been pursued – and

 led to the recovery of meaningful relief for hundreds of thousands of consumers in

 Michigan. See, supra, e.g., Loftus, Kain, Strano, Moeller. 6

 III.   KEY TERMS OF THE SETTLEMENT
        Class Definition. The “Settlement Class” is:

              [A]ll Michigan direct purchasers of Mayo Clinic Health
              Letter whose information was included on the following
              lists obtained in discovery: MAYO_Schreiber_000533
              and MAYO_Schreiber_000519. As revealed in discovery,
              these      lists    (MAYO_Schreiber_000533          and
              MAYO_Schreiber_000519) identify 62,746 Michigan
              direct purchasers of Mayo Clinic Health Letter whose
              Michigan Subscriber Information was transmitted to third
              parties between June 16, 2015 and July 30, 2016.7




 6
        Loftus v. Outside Integrated Media, LLC, No. 2:21-cv-11809 (E.D. Mich.);
 Kain v. The Economist Newspaper NA, Inc., No. 4:21-cv-11807 (E.D. Mich.); Strano
 v. Kiplinger Washington Editors, Inc., No. 1:21-cv-12987 (E.D. Mich.); Moeller v.
 The Week Publications, Inc., No. 1:22-cv-10666 (E.D. Mich.).
 7
        Excluded from the Settlement Class are (1) any Judge or Magistrate presiding
 over this Action and members of their families; (2) the Defendant, Defendant’s
 subsidiaries, parent companies, successors, predecessors, and any entity in which the
 Defendant or its parents have a controlling interest and their current or former
 officers, directors, agents, attorneys, and employees; (3) persons who properly
 execute and file a timely request for exclusion from the class; and (4) the legal
 representatives, successors or assigns of any such excluded persons.


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 Settlement Agreement ¶ 1.31; Preliminary Approval Order (ECF No. 68) at

 PageID.3771 ¶ 9. These individuals are reflected on the Class List, attached to the

 Settlement Agreement as Exhibit A.8

       Monetary Relief. Defendant has agreed to establish a $52,500,000 non-

 reversionary Settlement Fund from which all Settlement Class Members who do not

 exclude themselves shall automatically receive a pro rata cash payment – expected

 to be between approximately $540.00 to $700.00 9 after payment of notice,

 administrative expenses, attorneys’ fees, and service awards to the proposed Class

 Representatives. Settlement Agreement ¶¶ 1.33, 2.1. No portion of the Settlement

 Fund will revert back to Defendant. Id. ¶ 2.1(h).

       Release. In exchange for providing the monetary relief set forth above,

 Defendant (and all “Released Parties” — defined in Settlement Agreement ¶ 1.27)



 8
        Plaintiffs can submit the full list of Class members for an in-camera review
 upon request of the Court.
 9
        $540.00 is the minimum amount that each Settlement Class Member will
 receive from the Settlement. However, given the passage of time between the pre-
 July 31, 2016 time period and the present, and the medical-focused subject matter of
 Defendant’s publication at issue, Plaintiffs believe that many Settlement Class
 Members are deceased, and that the many such deceased Class Members may not
 have estates to which settlement payments may be made. Thus, the number of
 Settlement Class Members between which the net Settlement Fund will ultimately
 be split is likely to be significantly less than the 62,746 persons who comprise the
 entire Settlement Class. And Plaintiffs’ counsel estimate that this reduction in the
 number of Settlement Class Members capable of receiving payment from the
 Settlement will result in each such Settlement Class Member receiving
 approximately $540 to $700 each.

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 will receive a full release of all claims arising out of or related to Defendant’s

 disclosure of its Michigan customers’ subscription information. See Settlement

 Agreement ¶¶ 1.26-1.28 for full release language.

          Notice and Administration Expenses. The Settlement Fund will be used to

 pay the cost of sending the Notice set forth in the Settlement Agreement and any

 other notice as required by the Court, as well as all costs of administration of the

 Settlement. Settlement Agreement ¶¶ 1.29, 1.30, 1.33. The Parties selected the now

 Court-appointed Kroll Settlement Administration LLC to serve as Settlement

 Administrator. See Hedin Decl. ¶ 34 & n.2; Miller Decl. ¶ 21 & n.2.

          Service Awards and Fee Award. On April 29, 2024, Plaintiffs their

 Unopposed Motion for Service Awards and Fee Award (ECF No. 72) (“Fee

 Petition”) seeking service awards of $3,500 to Mr. Schreiber, $2,500 to Mr. Colony,

 $2,500 to Ms. Vredeveld, and $1,000 to Mr. Surnow (PageID.3848). The Fee

 Petition also seeks a Fee Award for attorneys’ fees, costs, and expenses in the

 amount of 35% of the Settlement Fund (PageID.3848); see also Agreement ¶ 8.1.

 The Fee Petition requesting Service Awards for the Class Representatives and a Fee

 Award for attorneys’ fees, costs, and expenses for Class Counsel is unopposed, and

 no objections have been filed in response to it to date. Payment of attorneys’ fees,

 costs, and expenses is due within 10 days after entry of Final Judgment. Agreement

 ¶ 8.2.


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 IV.   THE NOTICE PLAN COMPORTS WITH DUE PROCESS

       Before final approval can be granted, Due Process and Rule 23 require that

 the notice provided to the class members is “the best notice that is practicable under

 the circumstances, including individual notice to all members who can be identified

 through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); Eisen v. Carlisle &

 Jacquelin, 417 U.S. 156, 173 (1974). Notice “need only be reasonably calculated …

 to apprise interested parties of the pendency of the settlement proposed and to afford

 them an opportunity to present their objections.” UAW v. Gen. Motors Corp., 2006

 WL 891151, at *33 (E.D. Mich. Mar. 31, 2006) (citation omitted). Notice must

 clearly state essential information, including the nature of the action, terms of the

 settlement, and class members’ options. See Fed. R. Civ. P. 23(c)(2)(B); Dick v.

 Sprint Commc’ns Co. L.P., 297 F.R.D. 283, 292 (W.D. Ky. 2014). At its core, “[a]ll

 that the notice must do is fairly apprise the prospective members of the class of the

 terms of the proposed settlement so that class members may come to their own

 conclusions about whether the settlement serves their interest.” UAW v. Gen. Motors

 Corp., 497 F.3d 615, 630 (6th Cir. 2007) (citation omitted)

       Due Process does not require that every class member receive notice, and a

 notice plan is reasonable if it reaches at least 70% of the class. See Fidel v. Farley,

 534 F.3d 508, 514 (6th Cir. 2008); Fed. Judicial Ctr., Judges’ Class Action Notice

 and Claims Process Checklist and Plain Language Guide 3 (2010); see also In re


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 Countrywide Fin. Corp. Customer Data Sec. Breach Litig., 2009 WL 5184352, at

 *12 (W.D. Ky. Dec. 22, 2009) (finding notice plan to be “the best notice practicable”

 where combination of mail and publications notice reached 81.8% of the class);

 Gascho v. Glob. Fitness Holdings, LLC, 822 F.3d 269 (6th Cir. 2016) (finding that

 notice and claims processes were appropriate where 90.8% of notices were

 successfully delivered to addresses associated with class members). The notice plan

 here readily meets these standards, as it provided direct notice via a postcard or email

 to 93.02% of the Settlement Class. See Exhibit D, Declaration of Scott M. Fenwick

 of Kroll Settlement Administration LLC in Connection with Final Approval of

 Settlement (“Fenwick Decl.”), ¶ 12.

       At preliminary approval, the Court approved the Parties’ proposed Notice

 Plan, finding it met the requirements of Rule 23 and Due Process. ECF No. 68,

 PageID.3773-74. That plan has now been fully carried out by professional settlement

 administrator, Kroll Settlement Administration LLC. Pursuant to the Settlement

 Agreement, Defendant provided Kroll with a list of 62,746 available names,

 addresses, and emails of Settlement Class Members. Fenwick Decl. ¶ 5. Kroll

 successfully delivered the Court-Approved notice via postcard or e-mail (for

 Settlement Class Members with a valid e-mail address whose Postcard Notice was

 returned to Kroll as undeliverable and for whom Kroll could not locate an alternative

 mailing address) to 58,364 Settlement Class Members. Id. ¶¶ 10-12. Accordingly,


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 the Court-approved Notice successfully reached 93.02% of the Settlement Class.

 Agreement ¶¶ 4.1(b); Fenwick Decl. ¶ 12. 10

       Given the broad reach of the notice, and the comprehensive information

 provided, the requirements of due process and Rule 23 are met.

 V.    THE SETTLEMENT WARRANTS FINAL APPROVAL
       The Federal Rules of Civil Procedure require judicial approval of class action

 settlements. Halliday v. Weltman, Weinber & Reis Co., L.P.A., 2013 WL 692856, at

 *1 (E.D. Mich. Feb. 26, 2013) (citing Fed. R. Civ. P. 23(e)). At final approval, the

 ultimate issue is whether the settlement is fair, reasonable, and adequate. Fed. R.

 Civ. P. 23(e)(2); Williams v. Vukovich, 720 F.2d 909, 921 (6th Cir. 1983). Courts

 within the Sixth Circuit recognize a strong “federal policy favoring settlement of

 class actions.” UAW, 497 F.3d at 632 (citation omitted); see also Leonhardt v.

 ArvinMeritor, Inc., 581 F. Supp. 2d 818, 830 (E.D. Mich. 2008).

       Rule 23(e)(2) provides factors for the Court to determine if a settlement is

 “fair, reasonable, and adequate.” The Rule 23(e)(2) factors are: (A) the class

 representatives and class counsel have adequately represented the class; (B) the

 proposal was negotiated at arm’s length; (C) the relief provided for the class is


 10
        These Notices also directed Settlement Class Members to the Settlement
 Website where they were able to submit change of address forms, access important
 court filings including the Fee Petition, and review deadlines and answers to
 frequently asked questions. Agreement ¶ 4.1(c); Fenwick Decl. at Ex. C. Kroll also
 notified the appropriate state and federal officials as per CAFA. Fenwick Decl. ¶ 4.

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 adequate, taking into account: (i) the costs, risks, and delay of trial and appeal; (ii)

 the effectiveness of any proposed method of distributing relief to the class, including

 the method of processing class-member claims; (iii) the terms of any proposed

 attorneys’ fees, including timing of payment; and (iv) any agreement required to be

 identified under Rule 23(e)(2); and (D) the proposal treats class members equitably

 relative to each other. Fed. R. Civ. P. 23(e)(2).

       In addition to these factors, the Sixth Circuit has overlaid its own factors. See

 UAW, 497 F.3d at 631. They are: “(1) the risk of fraud or collusion; (2) the

 complexity, expense and likely duration of the litigation; (3) the amount of discovery

 engaged in by the parties; (4) the likelihood of success on the merits; (5) the opinions

 of class counsel and class representatives; (6) the reaction of absent class members;

 and (7) the public interest.” Id. As described below, each factor affirms the fairness,

 reasonableness, and adequacy of the Settlement, and supports final approval.

            A. The Rule 23(e)(2) Factors Weigh in Favor of Final Approval

       This Settlement easily satisfies the Rule 23(e)(2) factors.

       First, Plaintiffs and Class Counsel have adequately represented the class,

 securing the best-ever PPPA per-class member recovery. See Introduction, supra.

       Second, the Settlement was negotiated at arm’s-length following multiple

 mediations with former Chief Judge Rosen, as mediator, after exchanging

 information sufficient to assess the strengths and weaknesses. See supra.


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       Third, the relief is not just adequate, it is exceptional. The Settlement

 Agreement provides for the automatic payment of approximately $540.00 to $700.00

 to every Settlement Class Member, without the need for any of them to submit a

 claim form. Settlement Agreement ¶¶ 2.1-2.2. The percentage of the Settlement

 Fund that Class Counsel requested as attorneys’ fees (inclusive of costs) is consistent

 with the percentage of the funds sought by plaintiff’s counsel and approved by courts

 in numerous prior PPPA settlements. See supra.

       Fourth, the proposed Settlement treats Settlement Class Members equitably to

 each other as every Settlement Class Member will receive an identical pro rata cash

 payment under the Settlement. Settlement Agreement ¶ 2.1.

       Finally, all terms affecting the Settlement Class are contained within the

 Settlement Agreement.

       B. The Sixth Circuit’s UAW Factors Weigh in Favor of Final Approval

       All seven UAW factors favor approval or, at least, are neutral.

            1. There Is No Risk of Fraud or Collusion.

       The first UAW factor is “the risk of fraud or collusion.” UAW, 497 F.3d at

 631. “Courts presume the absence of fraud or collusion in class action settlements.”

 Leonhardt, 581 F. Supp. 2d at 838. Here, a non-collusive settlement was reached

 through arm’s-length negotiations via multiple mediations with a neutral. See Sheick

 v. Auto. Component Carrier, LLC, 2010 WL 3070130, at *13 (E.D. Mich. Aug. 2,


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 2010) (“[N]egotiations of the Settlement Agreement were conducted at arm’s-length

 by adversarial parties and experienced counsel, which itself is indicative of fairness,

 reasonableness, and adequacy.”).

            2. Litigation Through Trial Would Be Complex, Costly, and Long.

       The second UAW factor is “the complexity, expense and likely duration of the

 litigation.” UAW, 497 F.3d at 631. Most class actions are inherently risky, and thus

 “[t]he obvious costs and uncertainty of such lengthy and complex litigation weigh

 in favor of settlement.” UAW, 2006 WL 891151, at *17.

       Here, the Parties engaged in dispositive motion practice, discovery, and held

 multiple private mediations. Hedin Decl. ¶¶ 20-22, 33, 30-31; Miller Decl. ¶¶ 9, 10,

 17-18, 20, 27. Absent a settlement, further discovery, dispositive motions, and

 depositions would follow. Defendant indicated that it would continue to assert

 numerous defenses to both class certification and the merits, including that the PPPA

 does not prohibit its conduct as alleged and that the claim is time-barred. Hedin Decl.

 ¶ 26; Miller Decl. ¶ 36. Class Counsel is also aware that Defendant would prepare a

 competent defense at trial and would appeal any adverse result at trial (and any order

 certifying a class). Id. Absent the Settlement, this would be lengthy and very

 expensive litigation.

       Rather than pursuing protracted and uncertain litigation, Plaintiffs and their

 counsel negotiated a Settlement Agreement that provides immediate, certain, and


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 meaningful relief to all Settlement Class Members, in a streamlined manner.

 Accordingly, the second factor weighs in favor of finding the Settlement fair,

 reasonable, and adequate.

            3. Discovery Allowed Plaintiffs to Intelligently Negotiate the
               Settlement.

       The third factor is “the amount of discovery engaged in by the parties.” UAW,

 497 F.3d at 631. Prior to filing, Class Counsel conducted a wide-ranging

 investigation into Defendant’s practices, described supra, and obtained several key

 documents evidencing those practices. See Hedin Decl. ¶¶ 15-17, 24; Miller Decl.

 ¶¶ 5-6, 27; see also Hedin Decl. ¶ 19 (Class Counsel’s further investigation prior to

 filing First Amended Complaint uncovering additional supporting documents).

 Moreover, during formal discovery and in settlement negotiations, Plaintiffs

 obtained wide-ranging discovery from Defendant and third parties on issues

 pertaining to class certification and the merits of the case. Hedin Decl. ¶¶ 25, 27, 33,

 36; Miller Decl. ¶¶ 9, 22, 27.

       This information and material enabled Plaintiffs and their counsel to properly

 assess the strengths and weaknesses of the claims and defenses and to negotiate a

 Settlement that is fair, reasonable, and adequate. Hedin Decl. ¶ 33; Miller Decl. ¶

 20. Class Counsel’s experience in similar cases, and the efforts made by counsel on

 both sides, confirms that they are sufficiently well apprised of the facts here and the

 viability of their respective cases to make an intelligent analysis of the proposed

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 settlement. Accordingly, the third factor weighs in favor of finding the Settlement

 fair, reasonable and adequate.

            4. Plaintiffs Would Face Real Risks if the Case Proceeded.

       The fourth UAW factor is “the likelihood of success on the merits.” UAW, 497

 F.3d at 631. Although Plaintiffs believe their case is strong, it is not without risk.

 Defendant has made clear that, absent a settlement, it will defend the case vigorously

 and move for summary judgment and contest class certification. See § VI.B.2, supra.

 The Court has not yet certified the Settlement Class for litigation purposes and the

 Parties anticipate that such a determination would only be reached after lengthy

 briefing. Defendant would likely argue that individual questions preclude class

 certification, that a class action is not a superior method, and that a trial would not

 be manageable. And even if the Court certified a class, Defendant would likely

 challenge certification through a Rule 23(f) application and then move to decertify.

       Moreover, even if Plaintiffs survived all of those obstacles, they faced

 significant risk in recovering a classwide judgment. Indeed, this case presents a

 unique risk on statute of limitations questions, because its timeliness depends on the

 applicability of the Michigan Supreme Court’s orders tolling the statute of

 limitations during the early days of the COVID-19 pandemic. TAC ¶ 1 n.2; see also

 Hedin Decl. ¶ 40; Miller Decl. ¶ 23. And while this Court has held that the Michigan

 Supreme Court’s COVID tolling orders are applicable to a PPPA case, see


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 Gottsleben v. Informa Media, Inc., 2023 WL 4397226, at *3-4 (W.D. Mich. July 7,

 2023), the constitutionality of those orders is currently being addressed by the

 Michigan Supreme Court. See Armijo v. Bronson Methodist Hospital, 991 N.W.2d

 593 (Mich. 2023) (setting briefing schedule and directing the scheduling of oral

 argument). An adverse decision could have deprived the Settlement Class of any

 recovery whatsoever.

       The risks of losing on the merits, of losing class certification, of maintaining

 certification through trial, and of collecting on any classwide judgment, were all

 significant hurdles to obtaining classwide relief in this case. Because the Settlement

 eliminates these risks of non-recovery, this factor also favors final approval.

            5. Proposed Class Counsel and Class Representative Support the
               Settlement.

       The fifth UAW factor is “the opinions of class counsel and class

 representatives.” UAW, 497 F.3d at 631. “The endorsement of the parties’ counsel

 is entitled to significant weight, and supports the fairness of the class settlement.”

 UAW, 2008 WL 4104329, at *26. Here, both Class Counsel and the Class

 Representatives support the Settlement. See Hedin Decl. ¶ 43; Miller Decl. ¶¶ 37,

 41. This UAW factor, therefore, favors final approval.

            6. The Reaction of Absent Class Members.

       The sixth UAW factor is “the reaction of absent class members.” UAW, 497

 F.3d at 631. In most class action settlements, a small number of opt-outs and

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 objections “are to be expected” and do not impact the Settlement’s fairness. In re

 Cardizem CD Antitrust Litig., 218 F.R.D. 508, 527 (E.D. Mich. 2003) (citations

 omitted); see also Olden v. Gardner, 294 F. App’x 210, 217 (6th Cir. 2008)

 (inferring that most “class members had no qualms” with settlement where 79 out of

 11,000 class members objected). Here, in a class of 62,746 persons, zero class

 members objected and only fourteen class members opted out. Fenwick Decl. ¶ 14.

 The lack of objections and minimal number of exclusions is even more impressive

 when considering that 93.02% of the Settlement Class received direct notice of the

 Settlement. Fenwick Decl. ¶ 12. This UAW factor therefore plainly weighs in favor

 of final approval. See, e.g., Hanlon v. Chrysler, 150 F.3d 1011, 1027 (9th Cir. 1998)

 (“[T]he fact that the overwhelming majority of the class willingly approved the offer

 and stayed in the class presents at least some objective positive commentary as to its

 fairness.”); Massiah v. MetroPlus Health Plan, Inc., 2012 WL 5874655, at *4

 (E.D.N.Y. Nov. 20, 2012) (“The fact that the vast majority of class members neither

 objected nor opted out is a strong indication of fairness.”).

            7. The Settlement Serves the Public Interest.

       The seventh and final UAW factor is “the public interest.” UAW, 497 F.3d at

 631. Settlements may serve the public interest by advancing a statute’s goals or by

 conserving judicial resources. See In re Cardizem CD Antitrust Litig., 218 F.R.D. at

 530. The Settlement here accomplishes both.


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       First, “[t]here is a strong public interest in encouraging settlement of complex

 litigation and class action suits because they are notoriously difficult and

 unpredictable and settlement conserves judicial resources.” Id. Further, when

 individual class members seek a relatively small amount of statutory damages,

 “economic reality dictates that [their] suit proceed as a class action or not at all.”

 Eisen, 417 U.S. at 161. Here, if the Settlement does not receive the Court’s final

 approval, the Parties anticipate a complex and lengthy litigation that would continue

 and would require significantly more motion practice and potential appeals. See Sims

 v. Pfizer, Inc., 2016 WL 772545, at *9 (E.D. Mich. Feb. 24, 2016) (finally approving

 settlement and finding that “absent settlement, all class members would be subject

 to the uncertainties, hardship, and delay attendant to continued litigation”). Thus, by

 avoiding complex class action litigation that can consume a court’s time and

 resources and would lead to uncertainty and delayed payment for Settlement Class

 Members, the Settlement furthers the public interest.

       Second, the Settlement also serves the public interest by furthering the

 objectives of the Michigan legislature in enacting the PPPA. The PPPA recognizes

 that “one’s choice in videos, records, and books is nobody’s business but one’s

 own.” House Legis. Analysis Section, H.B. No. 5331. Class action litigation in this

 area is a means of safeguarding the privacy of readers under the PPPA, especially

 because some consumers may be unaware of the data sharing practices alleged here


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 (i.e., that Defendant disclosed its customers’ personal reading information without

 their consent). This factor therefore supports final approval.

       Thus, all of the UAW factors weigh in favor of approval. Because the

 settlement on its face is fair, reasonable, and adequate, and not a product of collusion,

 the Court should grant final approval.

 VI.   THE SETTLEMENT CLASS SHOULD BE FINALLY CERTIFIED

       This Court’s preliminary approval order conditionally certified a class, for

 settlement purposes, of: “[a]ll Michigan direct purchasers of Mayo Clinic Health

 Letter whose information was included on the following lists obtained in discovery:

 MAYO_Schreiber_000533 and MAYO_Schreiber_000519. As revealed in

 discovery, these lists (MAYO_Schreiber_000533 and MAYO_Schreiber_000519)

 identify 62,746 Michigan direct purchasers of Mayo Clinic Health Letter whose

 Michigan Subscriber Information was transmitted to third parties between June 16,

 2015 and July 30, 2016.” ECF No. 68, PageID.3771. This Court’s preliminary

 approval order also appointed E. Powell Miller of The Miller Law Firm, P.C., Joseph

 I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A., and Frank S. Hedin and

 Arun G. Ravindran of Hedin LLP as Class Counsel, and Plaintiffs Jeffrey Schreiber,

 Richard Colony, Kay Vredeveld, and Michael Surnow as Class Representatives,

 both for settlement purposes only. Id. at PageID.3770-71.

       In doing the above, this Court set forth an extensive analysis of the propriety


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 of certification under Rule 23(a) and Rule 23(b)(3) (ECF No. 68), following the

 argument presented in Plaintiff’s Unopposed Motion for Preliminary Approval of

 Class Action Settlement (ECF No. 66). This Court was correct in conditionally

 certifying the Class for settlement purposes pursuant to Rules 23(a) and (b)(3), and

 nothing has changed to alter the propriety of this Court’s certification. This Court

 should now grant final certification of the Settlement Class.

 VII. CONCLUSION
       For the reasons set forth above, Plaintiffs respectfully request that the Court

 grant the Unopposed Motion for Final Approval of Class Action Settlement and

 enter Final Judgment in the form submitted herewith (attached as Exhibit E).

 Dated: May 15, 2024                    Respectfully submitted,

                                        By: /s/ E. Powell Miller
                                        One of Plaintiffs’ Attorneys

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                CERTIFICATE REGARDING WORD COUNT

       Plaintiffs Jeffrey Schreiber, Richard Colony, Kay Vredeveld, and Michael

 Surnow, in compliance with W.D. Mich. LCivR 7.2(b)(i)-(ii), used 6,738 words in

 Plaintiffs’ foregoing brief. Microsoft Word for Office 365 Business version 1910 is

 the word processing software used to generate the word count in the attached brief.

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                          CERTIFICATE OF SERVICE

       I, E. Powell Miller, an attorney, hereby certify that on May 15, 2024, I served

 the above and foregoing Plaintiffs’ Unopposed Motion for Final Approval of Class

 Action Settlement on all counsel of record by filing it electronically with the Clerk

 of the Court using the CM/ECF filing system.


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